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                                    Annex A
                                                                           4/9/2024
                     UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
——————————————————————————X
Eli Erlick,

                           Plainti✏,
                                                             Case No. 23-cv-1017
             - against -
                                                             CONFIDENTIAL
Blaire White.                                                STIPULATION OF
                                                             SETTLEMENT
            Defendants.
——————————————————————————X

      WHEREAS, Plainti✏ Eli Erlick filed this suit on February 7, 2023;

      WHEREAS, Defendant Blaire White was served process on February
27, 2023, and has since appeared;

       WHEREAS, Plainti✏ and Defendant alike (together, the “Parties”;
individually, a “Party” where not identified specifically) desire to resolve this
case without further litigation; and

       WHEREAS, each Party has been represented by counsel, has had time
to review the terms of this settlement agreement (referred to herein as the
"Settlement" or "Agreement"), and agrees both Parties have received good
and valuable consideration hereunder;

      NOW THEREFORE, the parties agree as follows:

      1.     Correction. [Omitted as confidential]

      2.     Non-Disparagement. [Omitted as con(dential]

      3.     Plainti)’s A+rmation. [Omitted as confidential]

       4.     Confidentiality. The terms of this Settlement are confidential,
and may not be shared publicly, except that the public version of this
Settlement attached as Annex A may be publicly filed with the Court. This
confidentiality clause shall not apply to: (1) any motion to enforce this
Settlement, in which case the Party seeking to enforce it may file this
Settlement and any Settlement related documents publicly, and (2) either
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Party may share this Settlement and any Settlement related documents with
their respective attorneys, tax professionals, and other professionals who
either Party reasonably believes must view this Settlement to provide
services to either Party.

       5.     Mutual Releases, Settlement, and Costs.            [Omitted as
confidential]

        6.   Dismissal. In exchange for the consideration provided herein,
all claims herein, as well as all claims or counterclaims that could have been
made, are dismissed with prejudice.

       7.     Estimated Damages and Breach. All material breaches of
this Agreement shall be considered material violations of this Settlement and
subject to enforcement. Both Parties acknowledge that any material breach
of this Agreement would cause irreparable harm and that money damages
would not provide an adequate remedy for such material breach. [Omitted as
confidential]

       8.     Retention of Jurisdiction to Enforce. The Court retains
jurisdiction to enforce the terms of this Settlement. Either Party may make a
motion to enforce this Agreement if they have a good faith belief there has
been a material breach hereunder.

      The Parties recognize the Court has discretion to reject this term, and
should the Court do so, this Settlement shall be held in abeyance while the
Parties discuss in good faith whether another enforcement mechanism is
e✏ective to achieve the aims of this Settlement. The availability of a robust
enforcement term and mechanism are both necessary parts of the
consideration the Parties have agreed to exchange, and therefore the
Settlement would be ine✏ective without some enforcement mechanism.

       9.    Signatures and Counterparts. This Settlement may be
executed in any number of counterparts, each of which shall be deemed an
original and all of which together shall be deemed one and the same
instrument. Electronic signatures shall be the same as any other signature.

      10.    Enforcement and Public Filing. The parties shall, upon
execution hereof, be entitled to file the public version of this Settlement
attached as Annex A.

                           [Signatures on Next Page]




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